Case 1:19-cv-02367-ABJ   Document 153-14    Filed 10/31/24   Page 1 of 2




       Strzok v. Garland, et al., No. 1:19-cv-2367-ABJ (D.D.C.)




              Plaintiff’s Exhibit 75

To Plaintiff’s Summary Judgment Memorandum
Case 1:19-cv-02367-ABJ         Document 153-14              Filed 10/31/24   Page 2 of 2
                                                                                    PLAINTIFF'S
                                                                                      EXHIBIT




               Donald J. Trump
               @realDonaldTrump. Follow
                                                                                x
     "FBI Agent Peter Strzok (on the Mueller team) should have
     recused himself on day one. He was out to STOP THE
     ELECTION OF DONALD TRUMP. He needed an insurance
     policy. Those are illegal, improper goals, trying to
     influence the Election. He should never, ever been allowed
     to
     9:03 AM     Aug 1, 2018
                                                                                G
         48.7K       • Reply       1
                                   ,     Share


                                       Read 10.9K replies




               Donald J. Trump 0
               @realDonaldTrump. Follow
                                                                               x
        remain in the FBI while he himself was being
     investigated. This is areal issue. It won't go into aMueller
     Report because Mueller is going to protect these guys.
     Mueller has an interest in creating the illusion of
     objectivity around his investigation." ALAN
     DERS HOWITZ....
     9:15 AM    Aug 1, 2018


         37.3K      • Reply      j,     Share


                                       Read 7.1K replies




                                                                    PSTRZOK-DOJ-000 14272
